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                           Exhibit A



Staff of H. Comm. on Oversight and Gov’t Reform, 114th Cong.,

               FOIA Is Broken: A Report (2016) 
                                

                                

                                

                                

                                

                                

                                

                                

                                

                                

                                

                                

                                

                                
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                U.S. House of Representatives
Committee on Oversight and Government Reform
                Jason Chaffetz (UT-3), Chairman




                 FOIA Is Broken: A Report

                           Staff Report
                          114th Congress

                           January 2016
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“The Freedom of Information Act should be administered with a clear
presumption: In the face of doubt, openness prevails. . . . All agencies should
adopt a presumption in favor of disclosure, in order to renew their commitment to
the principles embodied in FOIA, and to usher in a new era of open Government.
The presumption of disclosure should be applied to all decisions involving FOIA.”

                           --President Barack Obama
                                January 21, 2009



“Despite prior admonitions from this Court and others, EPA continues to
demonstrate a lack of respect for the FOIA process. . . . The Court is left wonder
whether EPA has learned from its mistakes or if it will merely continue to address
FOIA requests in the clumsy manner that has seemingly become its custom. Given
the offensively unapologetic nature of EPA’s recent withdrawal notice, the Court is
not optimistic that the agency has learned anything.”

                --Landmark Legal v. EPA, No. 12-1726 (D.D.C.)
                              March 2, 2015




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Executive Summary
        Since President Lyndon Johnson signed the Freedom of Information Act (FOIA) in 1966,
the FOIA request has been used millions of times for a myriad of reasons. FOIA is one of the
central tools to create transparency in the Federal government. FOIA should be a valuable
mechanism protecting against an insulated government operating in the dark, giving the
American people the access to the government they deserve. As such, FOIA’s promise is central
to the Committee’s mission of increasing transparency throughout the Federal government.

        The power of FOIA as a research and transparency tool is fading. Excessive delays and
redactions undermine its value. In large part, FOIA’s efficacy is limited by the responsiveness of
the agency that receives and processes the request. On innumerable occasions, agencies have
refused to produce documents or intentionally extended the timeline for document production to
stymie a request for information. In many cases, American citizens find themselves frustrated by
the total lack of response from the government they are asked to trust.

        In light of numerous reports of delays and obstruction related to the FOIA process, the
Committee sought feedback directly from FOIA stakeholders, including via an online portal
where requesters submitted cases highlighting ineffective or inefficient FOIA processes. The
Committee asked for examples of delays, abusive fees, inappropriate redactions, and other tactics
frustrating the FOIA process. In a matter of weeks, the Committee received a plethora of
responses.

        The comments were enlightening. Members of the media described their complete
abandonment of the FOIA request as a tool because delays and redactions made the request
process wholly useless for reporting to the public. Experienced FOIA users shared “worst of the
worst” examples and offered suggestions for reform. First-time or infrequent requesters,
however, shared the most disheartening responses. Novice FOIA requesters were unprepared for
the delay tactics and other obstacles to obtaining the information they were seeking. One 26
year-old freelance journalist wrote to the Committee about his first experience with FOIA, “I
often describe the handling of my FOIA request as the single most disillusioning experience of
my life.”

        On June 2 and 3, 2015, the Committee explored the FOIA experience with two hearings
involving more than fifteen witnesses. On the first day, journalists, media organizations, FOIA
experts, and transparency advocates testified to the numerous burdens facing FOIA requesters.
The next day, select agencies appeared before the Committee to explain barriers to effective and
efficient FOIA compliance and what the Committee could do to improve the process.

        This report draws on the testimony and comments received by the Committee to illustrate
the barriers to access that citizens face with respect to FOIA. The examples call attention to the
need for legislative FOIA reform. To that end, while oversight of FOIA and other transparency
tools will continue, the Committee will simultaneously identify solutions and pursue needed
legislative reform.



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Findings
The Executive Branch culture encourages an unlawful presumption in favor of
secrecy when responding to Freedom of Information Act requests.

       “We live in constant fear of upsetting the WH (White House),” said one government
        employee. (See page three)

       White House policy requires consultation on FOIA requests that contain “White
        House equities,” which slows the response process and encourages the use of
        exemptions. (See pages two and three)

The Administration is unaware that FOIA is systemically broken.

       A Department of Justice report graded agencies on FOIA compliance, giving high
        marks to some of the worst performing agencies. For example, the Department of
        State received near top scores in most categories despite an average wait time of three
        months for simple requests. (See page seven)

Agencies overuse and misapply exemptions, withholding information and records
rightfully owed to FOIA requesters.

       The Federal Communications Commission redacted the Chairman’s name and initials
        in official, work related emails, making it difficult for requesters to determine who at
        the agency is accountable for any decisions, based on a clearly improper use of the
        privacy exemption. (See pages 17-19)

       A requester asked for the curriculum vitae (CV) of advisors to the Food and Drug
        Administration (FDA). College professor commonly post their entire unredacted
        CVs online. However, FDA redacted information on curriculum vitae of advisors,
        claiming the CVs contained confidential business information and privacy
        information. (See page 20)

FOIA requesters face agency roadblocks and struggle to decipher unclear
communications from agency FOIA offices.

       An individual made a FOIA request of Customs and Border Patrol for documents
        related to his own communications and travel. Nearly a year later, CBP responded
        but only after Congress inquired about the status of the request. (See page 37)

While the statute lays out simple requirements to make a FOIA request, every
agency has different policies, fee schedules, and levels of complexity to obtain
records, creating an unwelcoming environment for the novice requester.


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       The Department of State denied a request for a contract because State could not
        reasonably identify the record using the contractor’s name. Instead, the Agency
        suggested the requester could obtain more specific information, such as the contract
        number, from a database known for having inaccurate data – creating a situation
        where the requester effectively needed the contract in order to get the contract. (See
        pages 26-27)

       In searching for documents responsive to a request, the General Services
        Administration (GSA) identified more records than initially anticipated. Despite the
        requester repeatedly confirming that all of the documents identified were of interest
        and he would be willing to pay for the documents, GSA refused to provide the
        records, stating “We don’t want to charge you for information that is not responsive
        to your request.” (See pages 27-29)

Agencies create and follow FOIA policies that appear to be designed to deter
requesters from pursuing requests and create barriers to accessing records.

       Waiting for responses can take so long that at one organization an individual made a
        request, left the organization to pursue a graduate degree, worked for years with
        another organization, and return to the original organization before receiving an initial
        response. (See page 31)

       Excessive fees are a persistent problem. For example, the Drug Enforcement Agency
        charged a FOIA requester nearly $1.5 million for one request. (See page 32)


Many agency FOIA offices have abandoned the statutory requirement to make a
determination within 20 working days, or 30 working days in unusual
circumstances.

       Syracuse University conducted a study on agency responses to FOIA requests. After
        four months, two thirds of the agencies had failed to produce documents. Most of the
        remaining agencies were severely delinquent, including the Department of Justice
        Office of Information Policy, which oversees FOIA processes for the rest of the
        federal government. (See page 35-36)

       In July 2013, a Ph.D. candidate requested records from the State Department
        necessary to complete his dissertation. In October 2015, he received a fourth
        extension notice with a completion date of April 2016. (See page 36)

FOIA requesters have good reason to mistrust even fair and earnest attempts by
agencies to fulfill requests.

       In the words of one requester, “[s]omething is desperately wrong with the process. It
        is either totally broken or requests are intentionally being ignored.” (See page 38-39)

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Introduction
        On March 2, 2015, the United States District Court for the District of Columbia chastised
the Environmental Protection Agency (EPA) for its “continued disregard for its FOIA
obligations.”1 The Court described a culture of unrepentant noncompliance with Federal law and
disrespect for the FOIA process, which resulted in the deletion of potentially responsive records
and inexplicable delays.2 Even while engaged in the lawsuit, EPA continued a pattern of
unresponsiveness, incomplete document searches, and deletions.3

        In July of 2015, another Federal District Court Judge admonished the Department of
State (State) for excessive delays responding to FOIA requests from the Associated Press (AP)
for documents about former Secretary of State Hillary Clinton's schedules and her top staffers.4
Discussing State’s inability to produce a set of 60 emails, the judge stated, “[n]ow, any person
should be able to review that in one day—one day. Even the least ambitious bureaucrat could do
this.”5 The Judge also expressed concerns about the delays in collecting the records, stating, “[i]t
appears they didn’t get anything done for two years.”

       The Courts’ comments in both of these cases reflect sentiments applicable across the
Executive Branch. Requesters are required to interact with federal agencies that “demonstrate[]
apathy and carelessness” toward FOIA requests “to an extent that understandably raises public
suspicion.”6 Delays, redactions, and demands for unreasonable specificity from requesters who
quite obviously do not have first-hand knowledge of the documents create the impression that the
agencies have an “utter indifference to . . . FOIA obligations.”7

        Instead of taking action to fix these problems, the Administration seems willfully blind to
the condition of the FOIA process. In a 2015 annual report, the Department of Justice (DOJ)
rated agencies’ FOIA programs on a number of self-determined factors, resulting in top scores
for many of the worst performing agencies.8 DOJ touts that 91 percent of requests reviewed for
disclosure were released in whole or part. While true, the reality is that more than 70 percent of
requests were withheld in whole or in part, or not reviewed for disclosure at all. Only 28 percent
of requesters received all responsive records and information requested.




1
  Landmark Legal Found. v. EPA, 2015 U.S. Dist. LEXIS 24620 (D.D.C. Mar. 2, 2015).
2
  Id.
3
  Id.
4
  Rachel Bade, Judge Explodes Over Hillary Email Delays, POLITICO, July 29, 2015,
http://www.politico.com/story/2015/07/judge-explodes-over-hillary-email-delays-120804#ixzz3lRYN42fh.
5
  Id.
6
  Landmark Legal Found. v. EPA, 2015 U.S. Dist. LEXIS 24620 (D.D.C. Mar. 2, 2015).
7
  Id.
8
  Dep’t of Justice, Summary of Agency Chief FOIA Officer Reports for 2015 and Assessment of Agency Progress in
Implementing the President's FOIA Memorandum and Attorney General Holder's FOIA Guidelines With OIP
Guidance for Further Improvement (2015); Nate Jones, New DOJ FOIA Report an Exercise in “Grade Inflation;”
Rewards some FOIA Denials as “Achieving Efficiencies” Aug. 15, 2012,
https://nsarchive.wordpress.com/2012/08/15/new-doj-foia-report-an-exercise-in-grade-inflation-rewards-some-foia-
denials-as-increased-efficiencies/.

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        The Freedom of Information Act established a right for the public to access federal
agency records. The statute simply requires requesters to reasonably describe the records they
wish to receive and the agency is required to produce those records in 20 working days.9 In
practice, however, the FOIA process is much more complicated and difficult to navigate. Many
of the complications are engineered into the process by the federal agencies themselves.

         The FOIA process is broken. Unnecessary complications, misapplication of the law, and
extensive delays are common occurrences. Agencies fail to articulate reasons for delays or
explain how to navigate the process. Requesters wait months, not weeks, before receiving any
response. Even a denial on a technicality can be significantly delayed because the agency may
fail to read the request for months. Unreasonable requests for detail and repeated ultimatums to
respond within narrow windows or start all over reinforce the perspective that the process is
designed to keep out all but the most persistent and experienced requesters.



The Administration’s Culture of Secrecy Erodes Trust
        On January 21, 2009, President Obama issued an executive memorandum on FOIA,
which stated:

        The Freedom of Information Act should be administered with a clear
        presumption: In the face of doubt, openness prevails. The Government
        should not keep information confidential merely because public officials
        might be embarrassed by disclosure, because errors and failures might be
        revealed, or because of speculative or abstract fears. Nondisclosure
        should never be based on an effort to protect the personal interests of
        Government officials at the expense of those they are supposed to serve.
        In responding to requests under the FOIA, executive branch agencies
        (agencies) should act promptly and in a spirit of cooperation, recognizing
        that such agencies are servants of the public. 10

Less than four months later, however, the White House Counsel wrote a nonpublic memorandum
reminding all Executive Branch agencies of the disclosure policy the Administration expected
the agencies to observe in practice: all documents and records that implicate the White House in
any way are said to have “White House equities” and must receive an extra layer of review, not
by agency FOIA experts, but by the White House itself.11




9
  5 U.S.C. § 552(a)(6)(A)(i).
10
   Memorandum from President Barack Obama for the Heads of Exec. Departments & Agencies, Freedom of
Information Act, (Jan. 21, 2009).
11
   Memorandum from Gregory Craig, Counsel to the President, for all Exec. Dep’t & Agency General Counsels,
Reminder Regarding Document Requests (Apr. 15, 2009), available at
http://causeofaction.org/assets/uploads/2013/06/White‐House‐memo‐equities.pdf?92f52c.

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        At a June 2015 hearing, FOIA officers from multiple agencies confirmed that this policy
requiring White House review of certain documents remains in effect.12 Despite a public
assertion that agencies should promptly respond and that the disclosure decision should not be
based on personal interests, on direction from the White House, agencies routinely delay
responses to allow for an extra layer of review by those persons with the greatest concerns about
embarrassment and revealing failures.

        It is unclear how the White House equities consultation policy would further the
President’s stated policy that “openness prevails” or how the policy would prevent nondisclosure
based on efforts to protect the personal interests of government officials. However, a record
obtained by the AP shows a redaction that sheds light on one of the policy’s results. The
National Archives and Records Administration FOIA office staff redacted this sentence in every
case, except once, by mistake: “We live in constant fear of upsetting the WH (White House).”13
The statement is a simple and clear reminder about the chilling effect that White House
involvement in the FOIA process can have on agencies.

Political review fosters mistrust, causes delays, and invites malfeasance
        Evidence shows political involvement in the FOIA process does not end at the White
House. Political officials at the Department of Homeland Security (DHS), the Department of
State, and the Department of Justice (DOJ) have interfered with the release of documents. In
multiple cases brought to the Committee’s attention, FOIA requests were subjected to an
additional layer of review for political purposes and documents deemed problematic or
embarrassing were withheld from release. Politicizing the FOIA process places decisions about
the release of documents in the hands of officials with an insufficient knowledge of FOIA,


12
   H. Comm on Oversight & Gov’t Reform, Subcomm. on Info. Tech. and Subcomm. on Gov’t Operations,
Ensuring Agency Compliance with Freedom of Information Act (FOIA), 114th Cong. (2015).
13
   Associated Press, Press Release, AP CEO: Gov’t undermining ‘right to know’ laws, Mar. 13, 2015,
http://www.ap.org/Content/Press-Release/2015/Gary-Pruitt-Sunshine-Week-column.		

                                                    3
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causing information to be wrongly withheld from the public. This practice wastes valuable
agency time and resources while the backlog continues to grow.

Department of Homeland Security

       The Department of Homeland Security receives the largest number of FOIA requests in
the Federal government—more than 40 percent of all requests received in FY 2014. The
Department is also responsible for the largest backlog of requests, about two-thirds of all
backlogged requests.14 DHS has maintained these distinctions since 2008, when it surpassed the
Department of Veterans Affairs in both counts.15 Given the burden to the agency, its inability to
meet legal requirements, and the substantial inconvenience to the public, DHS should have been
focused on finding efficiencies and ensuring prompt responses.

        Instead, a 2011 investigation by the Committee found DHS leadership actually imposed
additional procedural requirements that “corrupted the agency’s FOIA compliance procedures,
exerted political pressure on FOIA compliance officers, and undermined the federal
government’s accountability to the American people.”16 Under DHS’s process, all significant
FOIA requests were forwarded to the Secretary’s political staff for review. Career FOIA experts
could not release responses without the political staff’s approval. Political staff lacking FOIA
expertise proposed their own redactions and prevented the release of embarrassing information.
DHS also abused the (b)(5) exemption, meant to protect predecisional records, to improperly
withhold information. The Committee found that this layer of political review harmed the career
FOIA staff’s morale and delayed response times. 17

Department of State

       The Department of State is arguably the worst agency with respect to FOIA
compliance.18 The Agency has numerous open requests that are nearly a decade old. State takes
months to process simple requests, and nearly a year for more complex cases that qualify for
expedited treatment.19 Recently, State has also faced increased FOIA litigation, much of which
surrounds the record keeping practices of former Secretary Hillary Clinton and her senior staff.20

        According to the Wall Street Journal, Secretary Clinton’s senior staff “scrutinized
politically sensitive documents requested under public records law and sometimes blocked their


14
   U.S. Dep’t of Justice, Summary of Annual FOIA Reports for Fiscal Year 2014 (May 5, 2015).
15
   U.S. Dep’t of Justice, FOIA Post (2009) Summary of Annual FOIA Reports for Fiscal Year 2008 available at
http://www.justice.gov/oip/blog/foia-post-2009-summary-annual-foia-reports-fiscal-year-2008 (last visited
September 15, 2015).
16
   H. Comm. on Oversight & Gov’t Reform, Staff Report: A New Era of Openness?: How and Why Political Staff at
DHS Interfered with the FOIA Process, 112th Cong. (Mar. 30, 2011).
17
   Id.
18
   Chris Moody, Report: Clinton State Dept one of least transparent agencies, CNN, March 10, 2015
http://www.cnn.com/2015/03/10/politics/state-department-transparency-hillary-clinton/.
19
    Department of State, Freedom of Information Act Annual Report Fiscal Year 2014 (2014).
20
   Josh Gerstein, State Department cites ‘crushing’ burden from Freedom of Information Act POLITICO, Apr. 2,
2015, http://www.politico.com/blogs/under-the-radar/2015/04/state-department-cites-crushing-burden-from-
freedom-of-information-act-204948.

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release.”21 Secretary Clinton’s Chief of Staff, Cheryl Mills, and her staff reportedly screened
documents requested about the Keystone XL pipeline and former President Bill Clinton’s
speaking engagements and in both cases withheld the release of some documents. According to
the Journal, after Ms. Mills began reviewing documents related to Keystone XL, State’s
disclosure of records about the pipeline “fell off sharply.”22 Political appointees reportedly
exerted a degree of influence that the Department’s FOIA staff found inappropriate, including
having a FOIA expert advise them on how to “prospectively shield documents from
disclosure.”23

        Compounding concerns about inappropriate political review, State also has numerous
high profile cases wherein the agency claimed there were no responsive records when documents
did exist.24 In a recent example, State reversed its initial claim in a 2013 FOIA case that the
agency had no responsive records, having subsequently found more than 17,000 likely
responsive records.25 In 2013, Gawker, a media organization, filed a request with State for
records between Philippe Reines, former Deputy Assistant Secretary of State for Strategic
Communications under Clinton, and several dozen media outlets.26 While the initial claim by
State was incorrect, as Reines had well-documented communications with reporters, State did
not identify any records until after Gawker invested the time and money required to take the
Agency to court.27

        A recent report from State’s Office of the Inspector General revealed why State has not
been producing these responsive documents.28 As a matter of course, State did not search for
them. According to the OIG, the FOIA analyst responsible for searching for records from the
Secretary of State, the Deputy Secretaries of State, and many other high level political staff
“described the decision to search email accounts to be a discretionary one that is only exercised
periodically.”29 The periodic search for emails was only conducted if a request explicitly
referred to “emails” or “all records.”30 If a request included those magic words, the FOIA
analyst would ask State employees to search their own records and accept whatever was sent in
response, without approving a search methodology or the results.31



21
   Laura Meckler, Hillary Clinton's State Department Staff Kept Tight Rein on Records, WALL ST. J., May 19, 2015,
http://www.wsj.com/articles/hillary-clintons-state-department-staff-kept-tight-rein-on-records-1432081701.
22
   Id.
23
   Id.
24
   See e.g., Erik Wemple, More on Jason Leopold’s crazy FOIA bind, WASH. POST, June 4, 2015,
https://www.washingtonpost.com/blogs/erik-wemple/wp/2015/06/04/more-on-jason-leopolds-crazy-foia-bind/; see
also Josh Gerstein, Sullivan, Mills turn over emails to State Department POLITICO, July 8, 2015,
http://www.politico.com/blogs/under-the-radar/2015/04/state-department-cites-crushing-burden-from-freedom-of-
information-act-204948.
25
   J.K. Trotter, State Department Finds Thousands of Phillipe Reines Emails It Claimed Did Not Exist, GAWKER,
Aug. 17, 2015, http://gawker.com/state-department-finds-thousands-of-philippe-reines-ema-1724560491.
26
   Id.
27
   Id.
28
   U.S. Dep’t of State Office of the Inspector General, Evaluation of the Department of State’s FOIA Processes for
Requests Involving the Office of the Secretary (January 6, 2016).
29
   Id.
30
   Id.
31
   Id.

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The Department of Justice

         The Department of Justice is responsible for both FOIA requests submitted to DOJ and
FOIA requests submitted across the federal government. The agency’s Office of Information
Policy (OIP) is supposed to be charged with ensuring compliance and implementation of FOIA
law and policy.32 The office publishes a comprehensive legal treatise addressing all aspects of
FOIA. Given DOJ’s expertise on the law and special role in enforcement, deviations from the
letter and spirit of FOIA are even more troubling.

        Yet, Justice Department has deliberately violated the FOIA statute’s time requirements in
the face of political concerns. In the wake of a General Services Administration (GSA) scandal
regarding excessive and wasteful conference spending, many wondered whether similarly
outrageous events occurred at other agencies. Cause of Action, a nonprofit organization,
submitted FOIA requests to several agencies in April 2012 requesting documents related to
purchases of commemorative and promotional items, one of the many areas of waste cited in the
GSA scandal.33

        Among the agencies questioned by Cause of Action, DOJ’s delayed response stood out
compared to other, more responsive, agencies. To understand the cause of the delay, Cause of
Action submitted another FOIA request to DOJ, requesting records about the response to their
original FOIA request. Documents produced in response to the second request show high-level
discussions at DOJ in May 2012 regarding how to respond to the inquiries into spending.34 DOJ
component agencies received instructions to “stand down.”35 Component agencies finally
received “the green light to send out the [ ] response” in November 2012, after much of the
public outcry surrounding the GSA scandal had subsided.36

        While the current Administration claims that it is “the most transparent administration in
history,” the evidence indicates otherwise.37 As these cases show, political staff and agency
employees strategize to avoid disclosure and transparency. Many groups and individuals have
been denied records they have a right to access. These stories rightfully cause the public to
wonder what the federal government is trying to hide. Secrecy fosters distrust.

The Executive Branch Has Adopted An Unlawful Presumption In Favor Of
Secrecy

      Testifying before the Committee, David McCraw, Assistant General Counsel for the New
York Times, aptly described the central problem facing FOIA requesters:

32
   U.S. Dep’t of Justice, About the Office, available at http://www.justice.gov/oip/about-office (last accessed
September 15, 2015).
33
   Cause of Action, FOIA Freak-Out: DOJ Scrambles to Avoid Fallout Over Swag Purchases, Apr. 25, 2013,
http://causeofaction.org/foia-freak-out-doj-scrambles-to-avoid-fallout-over-swag-purchases/.
34
   Id.
35
   Id.
36
   Id.
37
   Jonathan Easley, Obama Says His is ‘Most Transparent Administration’ Ever, THE HILL, Feb. 14, 2013,
http://thehill.com/blogs/blog-briefing-room/news/283335-obama-this-is-the-most-transparent-administration-in-
history.

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        First, much of the delay appears to have little to do with the nature and
        complexity of actual requests but instead results from a culture of
        unresponsiveness. Some agencies are consistently good, while others show
        little sign of improvement year after year. As requesters, we are not in a
        position to know what the root causes of delay are. . . .In the end, this is a
        management issue, and those in charge of agencies should be held
        accountable for figuring out what the problem is and fixing it.38

        Agencies are responsible for distributing appropriate resources to the FOIA offices,
including a sufficient number of personnel. For this reason, it is primarily the agencies
themselves fostering a culture of responsiveness or unresponsiveness. Far too often, agencies
have adopted a unlawful presumption in favor of secrecy when responding to Freedom of
Information Act requests. While other agencies cited a lack of resources to excuse poor
performance, the Chief FOIA Officer at the Department of Treasury, Brodi Fontenot, explained
that Treasury prioritizes FOIA operations.39 In 2013, Treasury doubled the staff in the FOIA
office with a goal to close the oldest cases and find efficiencies to improve on existing processes.
Treasury’s commitment to FOIA had already shown results in faster processing times, a reduced
backlog, and the closing of more than a dozen of the oldest outstanding cases.

        The Administration reinforces the presumption of secrecy by celebrating failed agencies.
In 2015, DOJ issued a report assessing progress on implementing the administration’s FOIA
policies including agency grades on compliance with FOIA where many of the worst performing
agencies actually received the highest scores.40 By grading agencies on email usage and whether
they post reports online as required by law, 72 percent of agencies obtained top scores on a
category titled “steps taken to greater utilize technology.”41 In the category assessing
implementation of the presumption of openness, an agency only needed to send staff to FOIA
training and make at least one discretionary disclosure to receive the highest marks–75% of
agencies met this low threshold.42

        As an example of this grade inflation, State, which averages three times the statutory time
limit to process even simple requests, received the highest or second highest scores in four of
five categories.43 In the fifth category, which tracked metrics that matter to requesters, State
received the lowest score, with zeros in metrics including processing time for simple requests,
decrease in backlog, and percentage of backlog to overall agency requests.44

38
   H. Comm on Oversight & Gov’t Reform, Ensuring Transparency through the Freedom of Information Act
(FOIA), 114th Cong. (June 2, 2015) (Statement of David McCraw, Assistant General Counsel for the New York
Times).
39
   H. Comm. on Oversight & Gov’t Reform, Ensuring Agency Compliance with Freedom of Information Act
(FOIA), 114th Cong. (June 3, 2015) (Statement of Brodi Fontenot, Chief FOIA Officer, Department of the Treasury).
40
   Department of Justice, Summary of Agency Chief FOIA Officer Reports for 2015 and Assessment of Agency
Progress in Implementing the President's FOIA Memorandum and Attorney General Holder's FOIA Guidelines with
OIP Guidance for Further Improvement (2015).
41
   Id.
42
   Id.
43
   Id.
44
   Id.

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        Perhaps the worst example of this presumption of secrecy involves Jason Leopold, a
reporter for Vice News and a request to the Department of Defense (DOD).45 In 2014, Leopold
filed three increasingly detailed requests to simply obtain the title of reports produced from 2009
through 2014 by an office within DOD from.46 In 2009, DOD released a list of titles of the
reports from the office covering the previous 20 years.47 In response to each of the three requests
for the titles of more recent reports, DOD denied the request, either summarily claiming that “no
documents of the kind described in the request could be located,” or alternatively that the request
was too onerous. Forced to file a lawsuit to enforce his right to access records, Leopold received
an offer to settle from DOD. DOD agreed to partially fill this request if he agreed to never file
another request. In essence, DOD would partially comply with its legal obligations if Leopold
agreed to forfeit his rights in perpetuity.48


Exemptions Are Abused
         Cases like that of Jason Leopold, where federal agencies make repeated and extreme
efforts to subvert the public’s right to access records and fail to comply with legal
responsibilities, damage the public’s trust in both FOIA and in the government as a whole. Trust
is vital to the FOIA process precisely because not all records are released and requesters are
forced to rely on agencies to withhold records for proper reasons. Rightfully, certain sensitive
information is shielded from public disclosure. The statute provides nine exemptions from
FOIA’s broad mandate for full and complete access to federal agency records.49

        FOIA exemptions are intended to maintain reasonable protections for many categories of
sensitive information such as classified documents, personal or private information, the release
of which would only result in embarrassment or harm, and trade secrets or other confidential
business information. The very nature of exemptions, however, creates an operational
impediment to accountability by obscuring information the public could use to assess whether
the exemptions were appropriately applied. This barrier to accountability is no small matter.
Last year Federal agencies cited exemptions more than 550,000 times to withhold information
related to nearly 220,000 requests.50

        In applying exemptions, agencies must first determine whether information qualifies for
an exemption and whether the agency will apply the exemption if the applicable exemption is
discretionary. Then, agencies are obligated to follow a few simple rules in redacting or
withholding information: (1) Responsiveness to the request is determined on a page-by-page


45
   H. Comm on Oversight & Gov’t Reform, Ensuring Transparency through the Freedom of Information Act, 114th
Cong. (June 2, 2015) (Statement of Jason Leopold, Reporter for Vice News).
46
   Erik Wemple, Judge orders release of pentagon records in Jason Leopold FOIA Case, WASH. POST, June 11,
2015, https://www.washingtonpost.com/blogs/erik-wemple/wp/2015/06/11/judge-orders-release-of-pentagon-
records-in-jason-leopold-foia-case/.
47
   Id.
48
   Id.
49
   5 U.S.C. § 552(b).
50
   Dep’t of Justice, Summary of Annual FOIA Reports for Fiscal Year 2014 (May 5 2015).

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basis; (2) If any information on a page is responsive, the entire page should be provided;51 (3) If
any information on a page is exempt, any segregable portion must be released;52 and (4) When
an exemption is invoked, it must be identified and, if technologically feasible, the exemption
should be identified at the place on the record where the redaction was made.53

        When used properly, redactions are a meaningful way to provide the public with
information while protecting against the release of details that would harm an interest protected
by an exemption. In practice, however, the agencies applying the exemptions have an inherent
conflict of interest. The agency making the decision to withhold information is also the agency
with the most at stake if embarrassing or controversial information is released. Every time
evidence of an agency’s abuse of exemptions is uncovered, mistrust grows.


Under the Redactions: A Side-by-Side Look 	

       During an investigation into the Federal Communications Commission (FCC), the
Committee obtained two sets of nearly identical documents – one set of redacted documents
obtained through FOIA requests and one set of unredacted documents obtained pursuant to a
congressional request, to which the FOIA exemptions do not apply. The opportunity to look
under the FOIA redactions was enlightening. More than 200 side-by-side examples are included
in Appendix A.
Misapplication of exemption (b)(5) 	

        In the documents released through FOIA, the FCC marked most of the redactions as
“(b)(5).” Exemption five allows agencies to redact information that would be considered
privileged in a legal proceeding, such as communications covered by the attorney-client
privilege.54 Agencies also enjoy a privilege called “deliberative process.”

        The deliberative process privilege protects the agency decision-making process by
allowing the agency to withhold documents and communications that are (1) predecisional and
(2) deliberative.55 Predecisional means the material must have been created prior to the adoption
of a policy.56 Deliberative means that the materials contain recommendations or express
opinions on legal or policy matters.57


51
   Dep’t of Justice, FOIA Update: OIP Guidance: Determining the Scope of a FOIA Request (Jan. 1, 1995),
available at http://www.justice.gov/oip/blog/foia-update-oip-guidance-determining-scope-foia-request [hereinafter
Dep’t of Justice, FOIA Update]. Essentially, this means that agencies should not redact material as “nonresponsive.”
Any document provided in response to a FOIA request should not contain any redactions that do not qualify for an
exemption.
52
   5 U.S.C. § 552(b).
53
   5 U.S.C. § 552(b).
54
   Dept. of Justice, Guide to Freedom of Information Act: Exemption 5, available at
http://www.justice.gov/sites/default/files/oip/legacy/2014/07/23/exemption5.pdf (last accessed Sept. 24, 2015).
55
   Id.
56
   Id.
57
   Id.

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        The (b)(5) exemption, which has come to be known as the “withhold it because you want
to” exemption, is frequently misapplied.58 The FCC documents demonstrate the misapplication
of exemption five. For example, this January 6, 2014 email—provided to a FOIA requester—is
fully redacted pursuant to exemption (b)(5):59




       The unredacted version of the email, however, shows a post-decisional communication.
The email refers to the Chairman having already “approved” language for a speech. Thus, this
document was created after the decision was made and cannot be withheld pursuant to the
“deliberative process” privilege. The unredacted version states:60




       In another instance, the FCC redacted an April 29, 2014 email from an unknown
individual to several individuals on the President’s staff:61


58
   National Security Archive, The Next FOIA Fight: The B(5) “Withhold It Because You Want To” Exemption, Mar.
27, 2014, https://nsarchive.wordpress.com/2014/03/27/the-next-foia-fight-the-b5-withold-it-because-you-want-to-
exemption/.
59
   Email from Phillip Verveer to Justin Cole, et al. (Jan. 6, 2014, 1:05 p m.) (redacted).
60
   Email from Phillip Verveer to Justin Cole, et al. (Jan. 6, 2014, 1:05 p m.) (unredacted).
61
   Email from [REDACTED BY FCC] to Jeff Zientz, et al. (Apr. 29, 2014, 7:52 p m.) (redacted).

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        Even from the redacted email, it is readily apparent the redactions are inappropriate. The
subject line calls the email an “update” and the unredacted portions reference final documents.
The redaction of the sender’s name—known from another version of the email to be FCC
Chairman Tom Wheeler—is particularly egregious.

        The unredacted version confirms that Chairman Wheeler is simply reiterating prior
statements or providing summaries of existing public documents. The Chairman does comment
on his perception of the reaction from the press. However, that opinion does not address policy
or legal opinions.62

       Perhaps more importantly, the FCC has insisted that the White House was not part of the
deliberative process. Chairman Wheeler compared the White House’s comments to those of


62
  See Elec. Frontier Found. v. DOJ, 826 F. Supp. 2d 157, 169 (D.D.C. 2011) (denying exemption 5 protection to
emails summarizing factual matters and not relating to formation of policy); CREW v. DHS, 648 F. Supp. 2d 152,
160 (D.D.C. 2011) (requiring release of portion of memorandum not discussing policy).

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Members from Congress, calling them “recommendations.”63 Redacting a description of the
President’s opinion on this issue, as the version of the email released under FOIA does, is
improper. The (b)(5) exemption only covers documents that reflect “the give-and-take of the
consultative process.”64 The unredacted version of the email states:65




        Finally, the FCC redacted a discussion surrounding a response to a press inquiry under
the (b)(5) exemption. Courts are split on whether or not discussions peripheral to the
development of policy are covered under exemption five. Even if these types of discussions are
covered, however, the final decision is not. Further, the FCC redacted even non-substantive

63
   H. Comm. on Oversight & Gov’t Reform, Hearing on FCC: Process & Transparency, 114th Cong. (Mar. 17,
2015).
64
   Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 867 (D.C. Cir. 1980).
65
   Email from Hon. Thomas Wheeler, Chairman, FCC, to Jeff Zientz, et al. (Apr. 29, 2014, 7:52 p.m.) (unredacted).

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communications. All of the text of the email chain is redacted from the version released by the
FCC under FOIA:66




           The unredacted email states:67




66
     Email from Shannon Gilson to Jonathan Sallet, et al. (Apr. 23, 2014 5:43 p.m.) (redacted).
67
     Email from Shannon Gilson to Jonathan Sallet, et al. (Apr. 23, 2014 5:43 p.m.) (redacted).

                                                           13
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        The email at 5:24 p.m. discusses possible edits. However, the 5:33 p.m. email contains
the final language and at 5:43 p.m. that final language became public. Even if this type of
discussion would be covered under exemption five, by 5:33 p.m. the decision had been made and
the exemption was no longer applicable. Thus, the emails after 5:33 p.m. should not have been
withheld under the (b)(5) exemption.



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Redaction of Non-Responsive Information

       Agencies must determine responsiveness to the request on a page-by-page basis. If any
information on a page falls within the scope of the request, then the entire page should be
provided.68 On numerous occasions, however, the FCC made “non-responsive” redactions.

       In one example, the entire top portion of a document is redacted as being apparently non-
responsive:69




68
   Dep’t of Justice, FOIA Update, supra note 21. Essentially, this means that agencies should not redact material as
“nonresponsive.” Any document provided in response to a FOIA request should not contain any redactions that do
not qualify for an exemption.
69
   Email from Susan Fisenne to EDOCSHELP (Jan. 15, 2014, 11:17 a.m.) (redacted).

                                                         15
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       The unredacted version of the document shows that not only is there no reason to
withhold this from the requester, but that the redacted email is likely responsive. The email
simply confirmed that the correct document on Net Neutrality had been replaced:70




      Additional examples of agency redaction of non-responsive information can be found in
Appendix A.

Inappropriate (b)(6) redactions

       Exemption six applies to documents that “would constitute a clearly unwarranted
invasion of privacy.”71 Exemption six requires the agency to balance the privacy interest against
70
     Email from Susan Fisenne to EDOCSHELP (Jan. 15, 2014, 11:17 a.m.) (unredacted to show top email).

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the public interest in disclosure. Civilian, non-law enforcement personnel generally have no
expectation of privacy regarding their names, titles, grades, salaries, and other information.

        Without explanation, the FCC redacts the Chairman’s initials under a (b)(6) exemption.
Every time “TW” appears in the address line of an email it is redacted. Examples of the
redactions that are applied to the Chairman’s initials are circled in red, below. In this example,
the Chairman’s email address is redacted, while the contact information for the third party
contacting the Chairman was completely unredacted. The Committee applied redactions to this
document that cover telephone numbers and other contact information that the FCC did not
redact. Those redactions are in blue, below. The version of the email released by the FCC under
FOIA included significant redactions:72




71
   Dep’t of Justice, Guide to Freedom of Information Act: Exemption 6, available at
http://www.justice.gov/sites/default/files/oip/legacy/2014/07/23/exemption6.pdf (last accessed Sept. 24, 2015).
72
   Email from [REDACTED BY FCC] to Mindel De LaTorre, and Diane Cornell (May 27, 2014 at 2:45:17 PM)
(redacted).

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         The unredacted email shows that the FCC redacted the Chairman’s initials, “TW,” from
the sender line of the emails three times. It is unclear why FCC has determined that releasing the
initials of the top agency official acting his official capacity is a “clearly unwarranted invasion of
privacy.” What is clear, however, is that FCC is not appropriately balancing the public interest
in disclosure. The requester receiving these documents would have no way of knowing the
Chairman’s involvement. This stands in contrast to the other Commissioners and numerous FCC
staff whose names are not redacted. The unredacted email states:73




73
  Email from Hon. Thomas Wheeler, Chairman, FCC to Mindel De LaTorre, and Diane Cornell (May 27, 2014 at
2:45:17 PM) (redacted).

                                                   18
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        The FCC also applied the (b)(5) exemption to an email from the Chairman discussing an
invitation to a conference. While the discussion was perhaps prior to the decision of whether the
Chairman would attend, it does not appear to involve any predecisional discussion of a policy
matter.

       Numerous examples of the FCC redactions of the Chairman’s initials, which appear near
unredacted contact information for third parties, including members of the media, are included in
Appendix A.

        The FCC’s tendency to over-redact makes it difficult for requesters to understand what
the agency has provided them, and consequently, to make follow up requests. For example, in
response to a request from Vice News reporter Jason Leopold, the FCC withheld 1,900 pages in
their entirety under exemption five.74 These redactions demonstrate a lack of responsiveness to
the public’s right for information. The agency either misunderstands how to use redactions,
raising concerns of competency, or the agency intentionally misuses redactions, raising concerns
of integrity. Given the numerous examples in which the FCC improperly redacts information,
this may be a deliberate tactic to withhold information from the public.


More Stories of Ridiculous Redactions and Inappropriate Exemptions

The On-going Investigation of a Closed Case

       On April 21, 2014, a federal officer shot and killed a defendant at federal courthouse in
Salt Lake City, Utah.75 The defendant, Siale Angilau, was on trial for “mafia-style racketeering
charges,” and was the last of 17 defendants in the case to stand trial.76 When he rushed for a
witness with a pen, a U.S. Marshal shot Angilau several times in the back.77 Less than three
months later, the Federal Bureau of Investigation (FBI) concluded its investigation into the event
and closed the case.78

        Months after the investigation had concluded, local media requested records from the
U.S. Marshals Service (USMS) and the FBI relating to the shooting and investigation, including
a courtroom video that captured the event on tape.79 Every request was denied. The USMS
claimed every responsive record was covered by either a privacy exemption or a law
enforcement exemption.80 Despite no open cases involving either two parties involved in the
incident, USMS cited exemption (7)(a), which involves records “reasonably expected to interfere
74
   Letter from FCC to Jason Leopold, Vice News (Apr. 8, 2015).
75
   Ben Winslow and Kiersten Nunez, Accused gang member dies in federal courthouse shooting, FOX13, Apr. 21,
2015, http://fox13now.com/2014/04/21/shots-fired-in-federal-courthouse/.
76
   Associated Press, No charges for marshal in Utah courtroom shooting, CNS NEWS, July 15, 2014,
http://cnsnews.com/news/article/no-charges-marshal-utah-courtroom-shooting.
77
   Id.
78
   Id.
79
   Email from Nate Carlisle, Salt Lake Trib. to U.S. Marshals Serv. FOIA (Sept. 5, 2014).
80
   Letter from U.S. Marshals Serv. to Nate Carlisle, Salt Lake Trib. (Sept. 24. 2014).

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with enforcement proceedings” if disclosed. Incredulously, the FBI was unable to find even one
responsive record.81 Faced with denials, the requesters may now consider whether to pursue this
further through litigation.

Food and Drug Administration Redacts Curriculum Vitae

       In 2014, Public Citizen, a nonprofit organization, submitted a FOIA request to the Food
and Drug Administration (FDA), asking for the curriculum vitae (CV) of the FDA’s advisory
committee members.82 CVs are documents detailing an individual’s professional
accomplishments and commonly available online. Many of the FDA’s advisory committee
members’ CVs are posted on the FDA’s website, but they include redactions. According to
Public Citizen, 80 to 100 percent of the CVs available online were redacted. 83

        When FDA provided records responsive to the request, the CVs remained redacted.
Redactions included information such as publicly available professional license numbers,
publication names, grant amounts, and past work history.84 FDA noted some redactions as
(b)(4), exempting trade secrets and confidential commercial information, and others as (b)(6),
exempting information the disclosure of which would constitute an unwarranted invasion of
privacy.85 Public Citizen explained, “the notion that a rational person would include on her CV
information ‘the disclosure of which would constitute a clearly unwarranted invasion of personal
privacy,’ as required to meet the exemption 6 standard, is hard to fathom.”86

DOJ Redacts the Titles of Office of Legal Counsel Opinions and the Names of Authors

         In December 2012, Ryan Reilly, a Huffington Post reporter, made a FOIA request to
DOJ, asking for the Office of Legal Counsel (OLC) to provide a list of all of the opinions it had
issued during the Obama administration.87 In response to the request, the OLC sent a heavily
redacted list for the years 2009 through the beginning of 2013 that included 76 unclassified
opinions.88 Many titles were fully redacted while others were partially redacted. When DOJ
provided Mr. Reilly the list of 10 unclassified OLC opinions from 2013, DOJ fully redacted the
titles of all but one, and partially redacted the last title.89 DOJ classified the full redactions as




81
   Letter from U.S. Dep’t of Justice to Nate Carlisle, Salt Lake Trib. (July 28, 2014).
82
   Letter from Public Citizen to H. Comm. on Oversight & Gov’t Reform (May 19, 2015) [hereinafter Public
Citizen].
83
   Id.
84
   Id.
85
   5 U.S.C. § 552(b).
86
   Public Citizen, supra note 28.
87
   Ryan Reilly, Obama Justice Department Won’t Disclose Number of Classified OLC Opinions (UPDATE),
HUFFINGTON POST, Feb. 25, 2013, http://www huffingtonpost.com/2013/02/25/obama-classified-olc-
opinions_n_2759878 html.
88
   Id. The response also noted the existence of eleven lists of classified OLC opinions that would not be provided,
with no indication of the number of opinions included on these lists..
89
   Ryan J. Reilly, Tweet (Apr. 24, 2014, 8:12 a.m.), available at
https://twitter.com/ryanjreilly/status/459349265916395520/photo/1 (last accessed Sept. 24, 2015).

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(b)(5) exemptions, which covers legal privileges including attorney client privilege or
deliberative process privilege, but failed to specify which legal privilege applied.90

        For some of the partially redacted titles of OLC opinions, DOJ redacted the name of the
author under a (b)(6) exemption, claiming that identifying the author “would constitute a clearly
unwarranted invasion of the personal privacy of third parties.”91 According to a DOJ memo
discussing OLC’s purpose, “[OLC] is frequently asked to opine on issues of first impression that
are unlikely to be resolved by the courts—a circumstance in which OLC’s advice may
effectively be the final word on the controlling law.”92 It is hard to imagine how identifying the
federal employee who authored a legal memo which “may effectively be the final word on the
controlling law” would “constitute a clearly unwarranted invasion of the personal privacy of [a]
third part[y].” Further, the failure to redact some names makes the redaction of other names all
the more curious.

Ph.D. Dissertation Materials Withheld by the Department of Energy

        While it is never justifiable for the government to withhold information that the public is
entitled to view, the practice becomes even more frustrating when the government prevents the
release of an individual’s own work. One example submitted to the Committee came from a
Ph.D. candidate who had been working on his dissertation at Los Alamos National Lab when he
was laid off. When the Ph.D. candidate tried to retrieve his work, he was told that he needed to
file a FOIA request.93

       After more than a year, the Department of Energy (DOE) partially granted, but largely
denied the request under exemption (b)(2) of FOIA, claiming that “if any of the information was
released, it could cause significant harm to the Agency’s nuclear nonproliferation program[.]”94

        Several months later, the Supreme Court clarified the application of (b)(2).95 Striking
down lower court opinions which found the exemption covered predominantly internal materials
the disclosure of which would significantly risk circumvention of agency regulations or other
law, the Court reaffirmed the statutory text. As the Court noted, (b)(2) contains “12 simple
words: ‘related solely to the internal personnel rules and practices of an agency’” and found that
(b)(2) is intended to cover only employee relations and human resource matters.

       The Ph.D. candidate subsequently filed an appeal. DOE reevaluated his request and
claimed that the files had been properly withheld.96 In 2011, after requesting a second appeal,


90
    Ryan J. Reilly, Tweet (July, 25, 2014, 10:45 a.m.), available at
https://twitter.com/ryanjreilly/status/492727303592366083 (last accessed Sept. 24, 2015)..
91
   Id.
92
    Memorandum from David Barron, Acting Assistant Attorney Gen., U.S. Dep’t of Justice, to Attorneys of the
Office of Legal Counsel, Best Practices for OLC Legal Advice & Written Opinions (July 16, 2010).
93
    Email from Mr. Brener to the H. Comm. on Oversight & Gov’t Reform, (May 13, 2015, 7:02PM). [Hereinafter
“Brener”].
94
    Letter from Nat’l Nuclear Security Admin. to Mr. and Ms. Brener (Aug. 10, 2010)..
95
    Milner v. Dep’t of the Navy, 131 S. Ct. 1259 (2011).
96
    Letter from Nat’l Nuclear Security Admin. to Mr. and Ms. Brener (Nov. 8, 2010).

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DOE wrote to explain that his appeal request would be partially granted.97 Four years later, DOE
has yet to respond any further. The Ph.D. candidate’s submission to the Committee also noted
that the agency refused to even give him the “automatic Sudoku solver that [he] wrote.”98

EPA Hides Conversation with Third Parties

        In 2010, the National Shooting Sports Foundation, Inc. (NSSF) discovered that EPA and
the American Bird Conservancy (ABC) engaged in conversations about the EPA’s ability to
regulate lead ammunition.99 NSSF sent a FOIA request to EPA asking for documents related to
the meeting between EPA and ABC, to which EPA responded that the information was protected
by exemption (b)(5)—thereby claiming that the deliberative process and attorney client
privileges protected the information.100 EPA failed to explain how agency records relating to a
discussion between the agency and an outside party could be covered under either the
deliberative process privilege or the attorney client privilege.

         NSSF subsequently appealed the denial and won, receiving partially redacted
documents.101 NSSF ultimately received the information it needed to determine whether EPA
did in fact have conversations with ABC. Further, after seeing the unredacted information,
NSSF better understand the partial exemptions as correctly protected under the deliberative and
attorney client privileges. The EPA FOIA office’s original decision to withhold the information
in response to NSSF’s request forced the parties into litigation simply to answer a very basic
question. The EPA’s decision to withhold the documents and litigate the release of those
documents wasted time and resources, including taxpayer money.



Intra-Agency Consultation Wastes Resources and Causes Delays
        It is common practice for agencies to consult with other agencies that may have
“equities” in the documents requested.102 Documents that either originated with another agency
or contain information that is of interest to another agency are deemed to implicate that other
agency’s equities. The agency that received the FOIA request may choose to consult and obtain
clearance from the other agency prior to release of such documents.103 The consultation process
is recognized in the statute, but current agency practice exceeds statutory time limits and can lead
to extensive delays in responding to FOIA requests.104


97
   Letter from Nat’l Nuclear Security Admin. to Mr. Brener (May 20, 2011).
98
   Brener, supra note 39.
99
   A request for correspondence between EPA and ABC was included in the original FOIA request that NSSF made
to EPA.
100
    Letter from Nat’l Shooting Sports Found. Political Action Comm. to EPA, (Oct. 10, 2011); Letter from EPA to
Nat’l Shooting Sports Found., Inc., (Jan. 11, 2012).
101
    Letter from Sidley Austin LLP, to EPA (Feb. 9, 2012); Letter from EPA to Sidley Austin LLP (Mar. 14, 2012).
102
    Department of Justice, Referrals, Consultations, and Coordination: Procedures for Processing Records When
Another Agency or Entity Has an Interest in Them (Aug. 15, 2014), available at
http://www.justice.gov/oip/blog/foia-guidance-13 (last accessed Sept. 24, 2015).
103
    Id.
104
    5 U.S.C. § 552

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        As a baseline, the FOIA statute provides agencies with twenty working days to respond
to requesters with a determination regarding whether the agency will comply with a request.105
Upon a determination from the agency that it will comply, the records are to be made promptly
available.106 Agency equities come into the process under what the statute describes as an
“unusual circumstance.”107 The need for consultation is one of three unusual circumstances and
the statute requires that the consultation be conducted with all practicable speed. Still, a finding
that a case involves unusual circumstances provides only 10 additional days before a response is
due. In many instances, agencies allow the consultation process to serve as an effective denial
without officially making an adverse determination.
A Never Ending Consultation and Referral Process

         As an example, on January 10, 2005 the National Security Archive submitted a FOIA
request to the Department of Defense Inspector General (DOD-IG) for School of the Americas
training manual evaluations.108 The agency acknowledged receipt of the request three days
later.109 Nearly ten years later, on December 3, 2014, the DOD-IG finally made a
determination.110 DOD-IG released some documents, but withheld more than a thousand in their
entirety, primarily under exemption (b)(6). The DOD-IG referred the remaining documents to
fourteen different agencies to review and asked those fourteen separate agencies to respond
directly to the National Security Archive.

       The National Security Archive provided the Committee with the responses it had
received from the fourteen agencies where its request was forwarded. The Air Force responded
on January 9, 2015:111




105
    5 U.S.C. § 552(a)(6).
106
    5 U.S.C. § 552(a)(6).
107
    5 U.S.C. § 552(a)(6).
108
    Letter from the Nat’l Sec. Archive to Inspector Gen., Dep’t of Defense (Jan. 10, 2005).
109
    Letter from Freedom of Info. Act & Privacy Act Office, Office of the Inspector Gen., Dep’t of Defense, to
Thomas Blanton, Nat’l Sec. Archive (Jan. 13, 2005).
110
    Letter from Freedom of Info. & Privacy Office, Office of the Inspector Gen., Dep’t of Defense, to Thomas
Blanton, Nat’l Sec. Archive (Dec. 3, 2014).
111
    Letter from Dep’t of the Air Force, Gov’t Info. Specialist to Thomas Blanton, Nat’l Sec. Archive (Jan. 9, 2015).

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The DOD-IG forwarded the Air Force 227 pages. The Air Force FOIA office identified three
pages that it would review. The FOIA office then transferred the remaining to two other
component agencies, asking one agency to review one page and another agency to review the
remaining 223 pages.

The National Security Archive continues to wait for responses to it 2005 request.

Delayed Referral Results in More Delay
       Philip Eil, a freelance journalist based in Providence, Rhode Island, filed a FOIA request
on February 1, 2012 with the Executive Office for U.S. Attorneys (EOUSA).112 EOUSA
confirmed its receipt of the FOIA request by the end of the month and then responded nine
months later, in November 2012, to explain that EOUSA found records that “may or may not be
responsive” but, because the records originated at another agency, EOUSA refused to process the
records.113 EOUSA transferred the request to the Drug Enforcement Agency (DEA) and charged

112
   Letter from Philip Eil to Executive Office for U.S. Attorneys (Feb. 1, 2012).
113
   Letter from Executive Office for U.S. Attorneys to Phil Eli [sic] (Feb. 28, 2012); Letter from Executive Office
for U.S. Attorneys to Phil Eli [sic] (Nov. 29, 2012).

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Mr. Eil a $154 “review fee.”114 As a journalist, Mr. Eil’s fee category only obligates him to pay
duplication costs.

       More than two years later, Mr. Eil filed a lawsuit to compel DEA to fully respond and
provide responsive documents without excessive redactions.115 By the time Mr. Eli filed his suit,
DEA had processed 12,724 pages, withholding 87 percent of those pages. The pages DEA did
were stripped of most of the substantive information.116 The lawsuit is ongoing.

“Frustratingly Slow Process”
        The New York Times describes its experience with agency equities consultation as a
“frustratingly slow process in which some agencies express no objection to the release of their
agency names, some do, and some initially do but later reverse their decisions on appeal.”117 On
July 5, 2013, the New York Times filed a FOIA request with the United States Postal Inspection
Service (USPIS) seeking documents outlining the number of “mail covers,” a law enforcement
surveillance tool, requested by outside law enforcement agencies from 2001 to 2012.118 On
March 31, 2014, The New York Times prevailed in a FOIA appeal, and USPIS agreed to release
the requested documents, subject to possible redactions based on opposition from other
agencies.119

         Fourteen months later, approximately two dozen agencies, including local agencies,
agreed to release the requested information.120 Then, on March 2, 2015, USPIS unilaterally
decided (1) that it would no longer facilitate responses for data from state and local agencies that
had requested federal mail covers, despite having done so at that point for nearly a year, and (2)
that it would close the FOIA request and no longer actively pursue information from the
remaining federal agencies because those agencies were taking a long time to respond to USPIS
inquiries.121 The New York Times appealed USPIS’s decision and on April 28, 2015 the USPIS,
without explanation, stated that it was reversing itself and would process the information as
before.122

       The New York Times explains that in the referral process, “[t]here is no incentive for the
second agency to act quickly and no mechanism for ensuring a timely response. Meanwhile,



114
    Id.
115
    Complaint, Eil v. U.S. Drug Enforcement Administration, No. 1:2015cv00099 (D.R.I. 2015).
116
    American Civil Liberties Union, Press Release, ACLU Sues Drug Enforcement Agency for Public Records Local
Journalist Requested 3 Years Ago (Mar. 18, 2015), available at https://www.aclu.org/news/aclu-sues-drug-
enforcement-agency-public-records-local-journalist-requested-3-years-ago.
117
    Letter from David McCraw, Vice President & Assistant Gen. Counsel, The New York Times Company, to Hon.
Jason Chaffetz, Chairman, H. Comm. on Oversight & Gov’t Reform (May 19, 2015) [hereinafter Letter from The
New York Times Company].
118
    Id.
119
    Letter from U.S. Postal Serv., to The New York Times Company (Mar. 31, 2014).
120
    Letter from The New York Times Company, supra note 115.
121
    Letter from U.S. Postal Inspection Serv., to The New York Times Company (Mar. 2, 2015).
122
    Letter from The New York Times Company, to U.S. Postal Serv. (Mar. 3, 2015); Letter from U.S. Postal Serv.,
to The New York Times Company (Apr. 28, 2015).

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requesters must continue to deal with the original agency, which has little or no say over the
timing once the referral is made.”123

       Recently, the Society for Historians of American Foreign Relations (SHAFR) offered
recommendations to improve the intra-agency consultation process in its FOIA Implementation
Report.124 SHAFR explains that agency equities are a major factor contributing to FOIA delays.
To reduce such delays, SHAFR recommends setting time limits for agencies to act. Also,
SHAFR explains that establishing “explicit and specific rules about what can be ‘equity’
information, strictures as to how long a third party agency can hang onto its interests, and
guidelines as to whether particular agency interests can impede the general move to
declassification” would fix the equity issue.125

Agencies Erect Roadblocks Designed to Close Cases
        Federal agencies engage in several practices that create the appearance that they are not
interested in actually complying with the requests submitted to them. Instead, agencies create
numerous barriers that requesters must overcome before they can receive the requested records.
These tactics strain the relationship with requesters and waste resources that should be used to
respond to the underlying request.

Unreasonable Standards for a “Reasonable Description”
         The FOIA statute requires that requesters provide a reasonable description of the records
requested.126 Requests should be specific enough to permit a professional agency employee
familiar with the subject matter to locate the record with a reasonable amount of effort.127 An
agency should carefully consider the nature of each request and give a reasonable interpretation
to its content. According to the legislative history, an agency “must be careful not to read [a]
request so strictly that the requester is denied information the agency well knows exits in its files,
albeit in a different form from that anticipated by the requester.”128

You need the contract to get the contract

        The State FOIA guide asks requesters to provide as much information as the requester
has, “such as contract or solicitation number, name of the company awarded the contract,




123
    Letter from The New York Times Company, supra note 62.
124
    Lauren Harper, SHAFR Report Calls for Proactive Disclosures, Fixing FOIA Exemption B5, and More.,
UNREDACTED, Jan. 21, 2015, https://nsarchive.wordpress.com/2015/01/21/shafr-report-calls-for-proactive-
disclosures-fixing-foia-exemption-b5-and-more/.
125
    Id.
126
    5 U.S.C. § 552.
127
    U.S. Dept. of Justice, Guide to Freedom of Information Act: Procedural Requirements, available at
http://www.justice.gov/sites/default/files/oip/legacy/2014/07/23/procedural-requirements.pdf (last accessed Sept. 24,
2015).
128
    H.R. REP. NO. 93-876 at 6(1974).

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approximate date of the contract, etc.”129 Effectively, State requires a contract number for
requests for contracts.

        In one instance, a request was submitted for “Copies of contracts with [contractor],
commonly known as [contractor], and any final reports generated and delivered by [contractor]
to the Department of State over the past 5 years.”130 State rejected the request because “FOIA
does not require agencies to do research, to analyze data, to answer written questions, or to create
records in response to a request. Answering your request would involve researching all
Department files for the documents requested, identifying the times and locations of performance
and creating a list, i.e., a record of those documents.”131 Instead, State pointed the requesters to
USASpending, which has notoriously inaccurate data.132 State’s refusal to search its database of
contracts by the name of the contractor demonstrates a willful disregard for the law, particularly
when a keyword search is how they would likely conduct any other search of records.

Too big is not the same as too vague

        A request is unreasonably broad if a reasonable agency employee familiar with the
subject matter would not be able to identify the records or it would be overly burdensome to
search for the records. The number of responsive records alone does not make the request
unduly burdensome. The determinative factor is whether the agency can identify with specificity
what records the requester is seeking. The volume of responsive records is not part of that
determination.133

         In January 2013, the Taxpayer Protection Alliance (TPA) submitted a request to the
General Services Administration (GSA) for all emails mentioning the U.S. Green Building
Council or “USGBC.”134 The GSA FOIA office conducted the search and found 70,000
documents.135 At that point, GSA contacted TPA and asked that they “please revise your request
by providing us with specifics such as email traffic between a specific person to another, or some
greater detail. As is we had more than 70,000 hits.”136 In response, TPA reiterated their request
for all of the materials. GSA, however, continued to push TPA to narrow the scope of the
request. 137


129
    U.S. Dep’t of State, Information Access Guide, available at http://foia.state.gov/Request/Guide.aspx (last visited
May 31, 2015).
130
    MuckRock, Copies of contracts between the State Dep’t & SecDev, https://www.muckrock.com/foi/united-states-
of-america-10/copies-of-contracts-between-the-state-department-and-secdev-11395/	(last visited May 31, 2015).
131
    Id.
132
    Id.; See Gov’t Accountability Office, DATA Transparency: Oversight Needed to Address Underreporting &
Inconsistencies on Fed. Award Website (June 2014) (GAO-14-476).
133
    See, e.g., Yeager v. DEA, 678 F.2d 315, 322, 326 (D.C. Cir. 1982) (holding request encompassing over one
million computerized records to be valid because "[t]he linchpin inquiry is whether the agency is able to determine
'precisely what records [are] being requested'" (quoting legislative history)).
134
    Letter from Taxpayers Prot. Alliance to Gen. Serv. Admin. (Jan. 17, 2013).
135
    Email from Gen. Serv. Admin. to Taxpayers Prot. Alliance (Nov. 7, 2013, 8:39 a.m.) [hereinafter Nov. 7, 2013,
GSA Email].
136
    Id.
137
    See e.g., Email from Gen. Serv. Admin. to Taxpayers Prot. Alliance (June 18, 2013, 10:04 a m).; email from
Taxpayers Prot. Alliance to Gen. Serv. Admin. (June 26, 2013, 1:16 p m.).

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       GSA claimed that TPA did not reasonably describe the documents and attempted to close
the request.138 TPA responded with a clear articulation of the documents it was seeking:139




        TPA was able to keep the request open and eventually asked for a cost estimate. GSA
provided the information necessary to calculate the fees but failed to provide a clear estimate,
because “We don’t want to charge you for information that is not responsive to your request.”140
Finally, eight months after initially attempting to close the case and TPA’s repeated requests that
the case be kept open, GSA did close the case.141 Despite repeated attempts to assure GSA that
TPA did, in fact, want all of the documents, GSA continued to assert that some of the documents
might not be of interest:142




138
    Email from Gen. Serv. Admin. to Taxpayers Prot. Alliance (Aug. 11, 2013, 6:36 p m.).
139
    Email from Taxpayers Prot. Alliance to Gen. Serv. Admin. (Aug. 12, 2013, 3:37 p m.).
140
    Nov. 7, 2013, GSA Email, supra note 79.
141
    Email from Gen. Serv. Admin. to Taxpayers Prot. Alliance (Mar. 10, 2014, 2:48 p.m.).
142
    Id.

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       The truly troubling part of this story is the failure of the Executive Branch to make a
good faith effort to respond to the request. At no point in the correspondence does GSA provide
an explanation of how they know that the 70,000 documents are not responsive to the request.
GSA does not know because after conducting the search and finding numerous documents GSA
determined that TPA could not possibly want what TPA repeatedly said it wanted. GSA is not
hearing TPA because GSA seems to think that they know more about what TPA wants than
TPA. Given that TPA confirmed their interest and willingness to pay associated fees, GSA was
obligated to provide responsive records.

The Waiting Game
Hurry up and Wait

       Sharyl Attkisson, an investigative journalist, submitted a FOIA request to the Center for
Disease Control (CDC) in early December 2014.143 On December 24, 2014, she received a letter
demanding that her request be narrowed or else her case would be closed:144




143
      Email from Sharyl Attkisson to Centers for Disease Control (Dec. 14, 2014, 9:41 p m.).
144
      Letter from Centers for Disease Control to Sharyl Attkisson (Dec. 24, 2014).

                                                          29
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       Ms. Attkisson responded within 30 minutes of receiving the above letter and narrowed
the request accordingly.145 She also requested confirmation that her request was not closed.
Hearing nothing from the CDC for the remainder of the day on Christmas Eve, Ms. Attkisson
emailed again on the next business day, December 26.146 Still receiving no response, she
emailed again on December 29.147 Finally, Ms. Attkisson received confirmation that her request
was successfully narrowed to two custodians over a period of less than six months for documents
and emails about a specific issue.148

        More than two months later the CDC sent a letter stating, “[a] search is currently being
conducted by program staff for the documents you requested. . . .We are unable to give you an
exact timeframe for completion of your request. Please be assured, however, that a response will
be sent to you as quickly as possible.”149 Agencies are required to provide an estimate, but “as
quickly as possible” is not an actual estimate.

You aren’t still interested are you?


145
    Email from Sharyl Attkisson to Centers for Disease Control (Dec. 24, 2014, 10:48 a.m.).
146
    Email from Sharyl Attkisson to Centers for Disease Control (Dec. 26, 2014, 3:39 p m.).
147
    Email from Sharyl Attkisson to Centers for Disease Control (Dec. 29, 2014, 11:26 a.m.).
148
    Letter from Centers for Disease Control to Sharyl Attkisson (Mar. 4, 2015).
149
    Letter from Centers for Disease Control to Sharyl Attkisson (Mar. 4, 2015).

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       The “still interested” letter, such as the one received by Ms. Attkisson included above, is
a common tactic of agencies to close requests. Simply, agencies demand requesters respond
within a specific, limited period of time to simply confirm they are still interested in receiving
the requested records.150 These letters are often sent well after the agency has failed to comply
with the statutory deadline for responding to the request. Perhaps even more problematic, some
agencies send multiple “still interested” letters prior to even starting to process the request.
Complaints about the practice prompted DOJ OIP to issue guidance clarifying basic courtesies
such as, “agencies should, at a minimum, have already provided the requester with an
acknowledgment of his or her request,” and “absent good cause, an agency should not inquire
more than once.”151

        The Committee received information about two cases from the Project on Government
Oversight (POGO) that show agencies are spending resources on trying to close cases without
producing documents, rather than actually trying to respond to the request. In the first case,
POGO explained that the DOJ called in 2014 to confirm whether POGO was “still interested in
the records” from a request submitted nearly three years earlier.152

       In another case, POGO received an inquiry in 2014 about a FOIA request originally
submitted in 2011.153 POGO responded:154




Agencies Use Fees as a Barrier to Public Access
        Fees can be a confusing and frustrating part of the FOIA process. The statute lays out a
fee structure based on the category of requester and the intended use of the records. Fees are

150
    OGIS, “Play Under Review: Agency Use of “Still Interested” Letters” (Aug. 28, 2015), ,available at
http://foia.blogs.archives.gov/2015/08/28/play-under-review-agency-use-of-still-interested-letters/ (last accessed
Sept. 24, 2015)
151
    Dep’t of Justice, Limitations on Use of “Still-Interested” Inquiries (July 20, 2015), available at
http://www.justice.gov/oip/oip-guidance-8 (last accessed Sept. 24, 2015).
152
    Email from Dep’t of Justice to Project on Gov’t Oversight (May 13, 2014, 3:24 p.m.).
153
    Email from Project on Gov’t Oversight to Dep’t of Justice (Dec. 5, 2014, 3:24 p.m.).
154
    Id.

                                                         31
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permissible to the extent that they cover the cost of the work being done; however, fees collected
are not returned to the agency that charged them. Instead, all fees collected are deposited in the
general fund of the United States Treasury. This process allows the Federal government to
recoup some of the cost of some requests, without encouraging agencies to turn FOIA responses
into a revenue generation stream. Unfortunately, excessive and poorly articulated fee estimates
give the public reason to suspect that the agency is using the fees to deter requesters. Stubborn
refusals for fee waivers in the public interest and refusals to recognize news media further
contribute to that impression.

Exorbitant Fee Estimates Make FOIA Unusable
        One of the most outrageous fee estimates came from a March 2014 FOIA request sent to
the Drug Enforcement Agency (DEA) asking for records related to the capture of Mexican drug
lord Joaquin “El Chapo” Guzman.155 According to MuckRock, an organization that assists the
public in submitting FOIA requests, the requester in this case received what is likely the largest
ever fee estimate for a FOIA request.156 After receiving an acknowledgement from the DEA
approximately two weeks after the initial request was received, the requester and the DEA
corresponded about the status of the request. The requester finally received a response letter
nearly a year later in January 2015 identifying 13,051 case files potentially responsive to the
request. According to the letter, the estimated search fee for the request was $1,461,712.
MuckRock provided the following analysis of the fee estimate:

        In fairness, the request is quite broad in scope, and the estimated 13,051
        case files would create considerable workload. But assuming that
        $200,000 of that fee came from photocopying (which would put the total
        number pages at two million), that would put the time estimate at over
        40,000 hours, or 1785 days. That's almost five years of constant work
        without breaks. The DEA might want to look into a more efficient system
        for processing—or invest in a redaction drone.157

        Large fees often are prohibitive, and many private individuals cannot afford to pay them.
An example submitted to the Committee involved a request submitted to the National Oceanic
and Atmospheric Administration (NOAA) in April 2015.158 The request asked for 11 specific
records. Within about three weeks, NOAA responded with an exorbitant fee estimate for
processing the request.159 NOAA claimed it would cost the agency $45,310.86 to search for the
records, $19,732.97 to review the records, and $435.20 to duplicate the records.160 Two weeks
later, NOAA sent another letter with an updated fee estimate of $45,579.02.161 The revised

155
    Dave Maass, Happy Sunshine Week: Introducing The Foilies, Round 1, ELECTRONIC FRONTIER FOUNDATION,
Mar. 16, 2015, https://www.eff.org/deeplinks/2015/03/happy-sunshine-week-introducing-foilies.
156
    JPat Brown, DEA wants $1.4 million before it will begin processing request, MUCKROCK, Feb. 5, 2015,
https://www.muckrock.com/news/archives/2015/feb/05/dea-wants-14-million-it-will-begin-processing-requ/.
157
    Id.
158
    Letter from Shankman Leone, P.A., to Nat’l Oceanic & Atmospheric Admin. Office of Gen. Counsel (Apr. 22,
2015).
159
    Letter from Nat’l Oceanic & Atmospheric Admin. to Shankman Leone, P.A. (May 15, 2015).
160
    Id.
161
    Letter from Nat’l Oceanic & Atmospheric Admin. to Shankman Leone, P.A. (May 28, 2015).

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estimate did not include any fees for review. It also slightly reduced both the estimated search
and duplication fees.

       In the most recent fee estimate, NOAA approximated the cost for duplication at
$427.20.162 Under 15 C.F.R. 4.11, National Marine Fisheries Service charges $0.16 per page for
paper or the direct cost plus operator time for other reproduction, which presumably would be
very quick to copy onto a disk. This would mean that for a $427.20 estimated duplication fee,
NOAA anticipates duplication of 2,670 pages.

        The same CFR section provides that the agency may charge the salary rate of the
employee plus 16 percent for manual search or actual direct cost, plus the cost of operator time
for a computerized search. NOAA estimates the search fees at $45,151.82.163 Assuming a
relatively high rate of $75 per hour, NOAA would expend 602 hours on search time alone to
identify just 2,671 pages. This is excessive for a relatively small number of estimated
documents. If this request did, in fact, require 602 hours of search time, the agency should
include an explanation in the letter. Instead, the requester received a letter providing the
estimated cost with no explanation for this exorbitant estimate.

Smaller Fees Can Also Be Problematic
        Agencies often quibble over small amounts, denying requests for waivers, or insisting
that a release is not in the public interest. In March 2015, the FOIA Resource Center submitted a
FOIA request to U.S. Customs and Border Patrol (CBP) and included a request for a fee waiver,
stating that the requested documents were “in the public interest.”164 About two weeks later,
CBP responded by denying the request for a fee waiver and estimating processing fees of
$60.50.165

       The requester appealed the fee waiver denial and fee estimate. Despite the relatively low
estimate of $60.50, CBP composed a lengthy legal memo explaining how they determined the
request not to be “in the public interest.”166 The memo laid out detailed requirements necessary
to prove to CBP that the request would be in the public interest.167 However, agencies are not
supposed to charge fees if the cost of collecting the fee would exceed the amount a requester
would be charged. The drafting of such a memo presumably cost more than the $60.50 fee
charged.168

       Another example of questionable fee practices submitted to the Committee showed that
the agency categorized fees beyond the standard FOIA breakdown: search, review, and
duplication. A requester submitted a FOIA request to the Air Force and, when asked, the



162
    Id.
163
    Id.
164
    See Letter from U.S. Customs & Border Protection to FOIA Resource Center (May 4, 2015).
165
    Id.
166
    Id.
167
    Id.
168
    Id.

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requestor even provided the FOIA officer with the exact location of the document.169
Nonetheless, the Air Force responded with a fee estimate of $220.00, which was further broken
down into unusual categories.170 The reviewer claimed “search: 2.0 hours,” “computer search:
2.0 hours,” and “review: 3.0 hours.”171 It is unclear what the difference is between search and
computer search, but it seems unreasonable to search for four hours when the requester identified
the exact database.

        The Committee also heard from a freelance journalist who filed two separate FOIA
requests to the Office of Foreign Assets Control (OFAC) in January 2015.172 In both instances,
OFAC denied the requester a fee waiver. The request indicated that the responsive records were
in the public interest and provided OFAC with evidence that he had more than five years of
professional experience and stated that he had recently and consistently published articles in
well-known news outlets and, therefore, had a reasonable expectation of publication. Under
these circumstances, OFAC was obligated to treat the requester as a member of the media, and
waive the fee.173 The requester believes that OFAC denied his fee waiver requests because he
did not have a publication contract, even though the FOIA statute does not require such a
contract.

       Two requests to the IRS from the Committee for Efficient Government (CFEG) provide
another example of either incompetence or deliberate malfeasance. CFEG submitted FOIA
requests to the Internal Revenue Service (IRS)—one in August 2012 and the other in August
2013.174 The IRS denied fee waivers for both requests on the basis that the requester was
“commercial.”175 According to CFEG’s website, “CFEG’s mission is to seek and explore ways
in which the Government can operate more efficiently and bring those ideas and solutions to the
forefront of Congress and the American public”176—hardly a commercial interest. Upon appeal,
the agency refused to engage in the legally required level of review and continues to claim that
CFEG’s request is a commercial interest, without any explanation.177



The Biggest Barrier of All: Delay, Delay, Delay
       Each agency is required to determine within 20 working days after the receipt of a FOIA
request whether the records will be released or the agency intends to withhold all or some of the
requested records, pursuant to FOIA’s exemptions. The 20 day response period begins on the

169
    Email from U.S. Air Force to Joseph Page (Apr. 24, 2015, 9:37 a m.); email from Joseph Page to U.S. Air Force
(Apr. 24, 2015 10:47 a.m.).
170
    Email from U.S. Air Force to Joseph Page (May 13, 2015, 5:09 p.m.).
171
    Id.
172
    Email from Daniel DeFraia to H. Comm. on Oversight & Gov’t Reform (May 9, 2015, 11:40 a m.).
173
    5 U.S.C. § 552(a)(4)(ii)-(iii).
174
    See Letter from Scott Hodes to Internal Revenue Serv. (Nov. 18, 2013).
175
    Letter from Internal Revenue Serv. to Kenneth Hemmerle, II (Apr. 2, 2013); Letter from Internal Revenue Serv.
to Scott Hodes (Sept. 11, 2013).
176
    Comm. for Efficient Gov’t, Mission Statement, available at http://cfegov.wpengine.com/mission-statement/ (last
accessed May 29, 2015).
177
    Letter from Scott Hodes to Hon. Jason Chaffetz, Chairman, H. Comm. on Oversight & Gov’t Reform (May 18,
2015).

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date the request is first received by the appropriate component of the agency, but no later than
ten days after any component of the agency receives the request. Processing a request is not the
same as providing requested records. The actual disclosure of records is required to follow
promptly after the processing of a request.

        While FOIA requests are meant to be processed in a timely manner, the law provides
extensions to accommodate certain situations. Agencies can extend the timeline to process a
request by up to 10 days if the agency can claim an “unusual circumstance”—defined as the need
to collect records from remote locations, review larger numbers of records, or consult with other
agencies.178 Agencies must inform the requester of the delay, provide the date the determination
is expected, and give the requester the opportunity to limit the scope of the request and/or
arrange with the agency a negotiated deadline for processing the request.

       While the Committee fully understands the need for extensions for “unusual
circumstances,” some agencies willfully underfund their FOIA offices or violate laws that
govern FOIA processing with little to no explanation. Recent stories of agencies that delay
FOIA processing well beyond acceptable timelines with no legitimate reasons have caused an
erosion of trust between the Executive Branch and the American public. The Committee has
received numerous examples of FOIA abuses that illustrate this problem.

A FOIA response case study

        Syracuse University conducted a study of agency responses to FOIA requests. Syracuse
filed identical requests at 21 agencies for “a case-by-case listing of all FOIA requests received by
the FOIA office from October 1, 2012 – December 31, 2014” with certain specific data fields.179
This should be a simple request because all of the records are in the FOIA office and the
database should be frequently accessed.

        After four months, only seven agencies provided records.180 While four of the remaining
14 agencies appeared to be making an effort to respond, ten agencies showed delinquent efforts
to comply with the law. Three agencies failed to respond at all.181 Three acknowledged the
request but failed to provide any additional information or additional correspondence. Three
agencies “provided records that were clearly unresponsive.” The last agency, the CIA, denied
the request because it required an “unreasonable effort.”182

       Syracuse highlighted responses from two agencies. First, “[The Department of
Homeland Security Immigration and Customs Enforcement’s (ICE)] response has been typical of
our dealings with them. At first the agency sent a broken CD. Then they sent a new CD with



178
    5 U.S.C. § 552(a)(6)(B).
179
    See, e.g., Letter from Transactional Records Access Clearinghouse, Syracuse University, to Info. & Privacy
Coordinator, Central Intelligence Agency, (Jan. 23, 2014).
180
    Letter from Transactional Records Access Clearinghouse, Syracuse University, to H. Comm. on Oversight &
Gov’t Reform (May 19, 2015).
181
    Id.
182
    Id.

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only one month out of the 27 months of data. Then they became unresponsive, forcing us to
appeal.”183

        Similarly, the Department of Justice’s Office of Information Policy, the federal agency
that provides guidance to other agencies on FOIA processes, acknowledged receipt after 20
working days and failed to follow up with any additional information after the initial
acknowledgement.

State delays research

        On July 26, 2013, a Ph.D. candidate at the University of Virginia made a FOIA request to
the State Department.184 The expected completion date was July 2014. The State Department
subsequently extended the completion date three times without an explanation.185 The new
completion date is now April 2016, leaving the requester with a total waiting time of two years
and nine months.186

        While the request was submitted via an
online portal, State responded with a paper form
completed by hand and sent through the mail.
The signature line is left blank but there appears
to be a set of initials next to the title.187 The
outdated processes exemplified by this practice
are almost certainly a symptom of larger
inefficiencies and ineffective policies that
contribute to the extensive delays at State.

       State has also kept the Huffington Post’s
Ryan Reilly in a similar limbo on a FOIA
request he made in May 2013. Reilly requested
a copy of the memorandum that Secretary
Clinton reportedly sent President Obama
regarding Guantanamo Bay. Mr. Reilly
received an estimated completion date of
September 2014, but has yet to receive a
response.188

Delays cost the taxpayer

       The public should not need to file a lawsuit in order to get the information that they are
already entitled to by law. Delays waste time and taxpayer money. One particularly egregious
183
    Id.
184
    See Email from U.S. Dep’t of State, FOIA to Steven Liao (July 26, 2013, 1:30 p m.).
185
    See Email from Steven Liao to H. Comm. on Oversight & Gov’t Reform (May 14, 2015, 12:09 a m.).
186
    See Email from Steven Liao to H. Comm. on Oversight & Gov’t Reform (November 12, 2015, 2:52 p.m.).
187
    Letter from Requester Communications Branch, Office of Information Programs & Services, U.S. Dep’t of State,
to Steven Liao, Requester, (Aug. 1, 2013).
188
    Email from Ryan Reilly to H. Comm. on Oversight & Gov’t Reform (May 5, 2015, 1:58 p m.).

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example of this involves a May 15, 2014, FOIA request by the New York Times to EOUSA for
documents related to attorney’s fees during a six year period.189 EOUSA was unresponsive.
Despite more than 10 attempts to contact the EOUSA for an update, EOUSA did not respond.
The New York Times eventually filed suit in November 2014, which led to the United States
Attorney’s Office providing the documents and EOUSA paying for the New York Times’ legal
fees.190

Requesters shouldn’t need a lawsuit to get responsive documents

       A FOIA request for documents relating to the requester’s own communications and travel
was sent to Customs and Border Protection (CBP) on July 23, 2014. Having received no
response within 20 working days, the requester sent two additional letters to CBP. Again, the
requestor received no response. Thinking something must be wrong with the original request,
the requester submitted the same request again, only for the agency to close it as “duplicative.”191

       In March 2015, in another attempt to get a response, the requester filed an appeal,
claiming constructive denial. The agency closed the appeal, however, finding “no adverse
decision for the Appeals Office to review.”192 The only other option for the requester was a
lawsuit. Instead of incurring these costs, the requester informed the Committee he would
continue to wait. On May 8 2015, the CBP FOIA website showed the request was “in the
‘Assignment’ phase, to be completed in September of [2014.]”193

        On May 20, 2015, the Committee requested information from multiple agencies about
several FOIA requests about which we had received complaints including the above mentioned
request.194 On May 27, seven days after the Committee’s letter and more than ten months since
the request was submitted, the requester received a final response.195 In total, the requester
received 22 pages and the agency did not claim any pages were withheld under exemptions.196

A year’s worth of data takes more time than that to process

      Bill Alpert of Barrons reported to the Committee that on February 5, 2013, he submitted
a FOIA request to the Social Security Administration (SSA) for documents that show how the
agency’s actuaries calculate forecasts.197 While SSA provided some information, it did not

189
    Letter from The New York Times Company, supra note 62.
190
    See	New	York	Times	v.	United	States	Department	of	Justice,	No.	t4‐cv‐9	149	(S.D.N.Y.	Nov.	18,	2014).
191
    Email from Owen Barcala to H. Comm. on Oversight & Gov’t Reform (May 8, 2015, 5:28 p m.).
192
    Id.
193
    Id.
194
    Letter from Hon. Jason Chaffetz, Chairman, H. Comm. on Oversight & Gov’t Reform to Hon. Jeh C. Johnson,
Sec. U.S. Dept. Homeland Security (May 20, 2015), Letter from Hon. Jason Chaffetz, Chairman, H. Comm. on
Oversight & Gov’t Reform to Hon. Loretta E. Lynch, Attorney General U.S. Dept. Justice (May 20, 2015), Letter
from Hon. Jason Chaffetz, Chairman, H. Comm. on Oversight & Gov’t Reform to Hon. John F. Kerry, Sec. U.S.
Dept. State (May 20, 2015), Letter from Hon. Jason Chaffetz, Chairman, H. Comm. on Oversight & Gov’t Reform
to Hon. John Koskinen, Comm’r. U.S. Dept. Treasury, Internal Revenue Service (May 20, 2015).
195
    Email from Owen Barcala to H. Comm. on Oversight & Gov’t Reform (June 1, 2015, 1:43 p m).
196
    Id.
197
    Email from William Alpert to H. Comm. on Oversight & Gov’t Reform (May 11, 2015) [hereinafter May 11,
2015, Email to H. Comm.].

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provide the complete information necessary to replicate the predictions. More than one year ago,
SSA promised Mr. Alpert “one-year’s worth of programs and spreadsheets,” which he still has
yet to receive.198 After he contacted the Chief Actuary at SSA to set up an interview in
preparation for his article, Social Security’s Predictions: Off by a $1 Trillion, he began to receive
messages from the SSA FOIA office explaining how the office wanted to help him but that it
would take a month to gather the documents, and the office could not afford to take the time to
do so.199

        While long delays in responding to FOIA requests are a problem, the issue becomes
compounded when poor agency practices lead to longer delays. As Mr. Alpert puts it, “[t]his
should have been an easy, uncontroversial FOIA request, if the Social Security actuaries were
doing their work in a way that kept pace with most data analysts.”200 If Mr. Alpert’s assertion is
correct, that SSA is not keeping pace with the methods of current data analysts, then these delays
become even more unacceptable since it would mean that the agency cannot follow the law
because of, at least in part, agency incompetence.

Unreasonable Delay in Determining an Unreasonable Description

        Let Freedom Ring submitted a FOIA request to the Department of Treasury on May 13,
      201
2013.      The Department of Treasury immediately notified Mr. Hanna, with Let Freedom Ring,
that his request was being forwarded to the Internal Revenue Service, which would correspond
directly with him.202 Mr. Hanna was subsequently contacted by the IRS on four different
occasions between June 2013 and October 2013, explaining that the IRS needed more time to
complete the request.203 Five months after his original request, Mr. Hanna had still not been
informed about which documents, if any, the IRS would produce. Finally, on April 9, 2015, two
years after the initial request, the IRS told Mr. Hanna that it would be unable to complete his
FOIA request because the request does not reasonably describe the documents.204

        A two year period for a completion date is unreasonable, but two years to even read the
request is outrageous. There is no reason the IRS could not have made this determination within
the statutory deadline. Delays like this diminish the American public’s confidence that its
government is working to serve the public good.

“Something is desperately wrong with this process”

       A requester from Florida sums up the issue of delays in FOIA succinctly when she
explained that “[s]omething is desperately wrong with this process. It is either totally broken or
requests are intentionally being ignored.”205 These frustrations stem from her experience with a
FOIA request from May 16, 2014 to FEMA. The request covered information about an agency

198
    Letter from Social Security Admin. to William Alpert, (Mar. 19, 2014).
199
    May 11, 2015 Email to H. Comm., supra note 128.
200
    May 11, 2015 Email to H. Comm., supra note 128.
201
    Letter from Colin A. Hanna to U.S. Dep’t of the Treasury (May 13, 2013).
202
    Letter from U.S. Dep’t of the Treasury to Colin A. Hanna (May 14, 2013).
203
    See, e.g., Letter from Internal Rev. Serv. to Colin A. Hanna (Oct. 18, 2013).
204
    Letter from Internal Rev. Serv. to Colin A. Hanna (Apr. 9, 2015).
205
    Email from Ms. Calvert to H. Comm. on Oversight & Gov’t Reform (May 10, 2015, 7:59 a m.).

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grant. Despite making multiple attempts for an update and bringing the issue to a supervisor, she
“received nothing but delays.”206

       It is unreasonable to expect citizens to maintain trust in a government that simply ignores
them when they make requests for information. The consequences of these extreme delays could
have serious and far reaching effects. People expect their government to be responsive, not to
stonewall them when a response is inconvenient.



Conclusion
        The FOIA process is broken. Hundreds of thousands of requests are made each year and
hundreds of thousands of requests are backlogged, marked with inappropriate redactions, or
otherwise denied. More experienced requesters push through the process in hopes of eventually
receiving something. Less experienced requesters are shocked at the delays and procedural
burdens. In the end, agencies close more than 40 percent of requests without releasing even one
document.

        As David McCraw from the New York Times said, some agencies are good and effective
in responding to FOIA requests, while others are consistently unresponsive and show little sign
of improvement. Importantly, the obscured view from the outside looking into an agency
prohibits requesters and even Congress from developing a nuanced view of exactly each and
every hang-up in the process at any agency. What is clear, however, is that those unresponsive
agencies lack effective incentives to make improvements.

        Whatever the reasons, FOIA has, in many respects, been unacceptably neutered. As this
report outlines, obfuscation comes in many forms: impermissible delays, exorbitant fees,
improper use of exemptions, and denial by never-ending referrals are just a few. Nothing makes
government more accountable than making its actions open and transparent to those who are
paying the bills. Structural reform is necessary to ensure the FOIA tool works as intended.
Legislation is needed to clarify existing requirements and impose additional requirements that
will ensure agencies to comply with legal obligations to make government public.




206
      Id.

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                           Appendix

                        FCC Documents




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